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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 COMMONWEALTH OF
 MASSACHUSETTS, et al.

                                 Plaintiffs,

        N.                                                          No. l:25-cv-10338

 NATIONAL INSTITUTES OF HEALTH,
 et al.

                                 Defendants.


            DECLARATION OF CERTIFIED MAIL SERVICE ON DEFENDANTS

       I hereby declare as follows:

       1.      lam over the age of eighteen and am not a party to this litigation.

       2.      I received summonses directed to defendants National Institutes of Health,

Matthew Memoli, M.D., M.S., U.S. Department of Health and Human Services, and Dorothy Fink.

       3.      On February 12, 2025,1 sent copies of the summonses described in the preceding

paragraph, along with copies of the Complaint (Dkt. No. 1 and attachments), Emergency Motion

for Temporary Restraining Order (Dkt. No. 4), Katherine Dirks Declaration in Support of that

motion (Dkt. No. 6 and attachments), and Memorandum in Support of that motion (Dkt. No. 12)

by certified mail to the defendants as follows:

 Summons Directed To:                          Summons, Complaint, and PI Papers Mailed To:
                                               U.S. Department of Health and Human Services,
                                                Office of the General Counsel,
 National Institutes of Health                   National Institutes of Health Branch, Public
 Matthew Memoli, M.D., M.S.                     Health Division
                                               9000 Rockville Pike, Bldg. 31, Room 2B-50
                                               Bethesda, MD 20892
                                               U.S. Department of Health and Human Services,
 U.S. Dept, of Health and Human Servs.          Office of the General Counsel,
 Dorothy Fink                                  200 Independence Ave. SW
                                               Washington, D.C. 20201
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                                            Attorney General of the United States
 United States of America                    950 Pennsylvania Ave. NW
                                             Washington, DC 20530




       I declare under penalty of perjury that the foregoing is true and correct.




Date




                                                 2
